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         EXHIBIT 14
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                         FUNO DAY 2018
                          NOVEMBER 15, 2018
                              NEW YORK CITY



As of 2Q'14
                                             1
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FUNO’S VISION




                                                         BY ANDRÉ ELMANN


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FUNO´S IPO COMMITMENT

 1   Newly created Mexican trust, formed primarily to acquire, develop, own, and
     operate a broad range of income-producing real estate




                                                  3
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FUNO´S IPO COMMITMENT

 1 Newly created Mexican trust, formed primarily to acquire, develop, own, and
     operate a broad range of income-producing real estate


 2
   Long-term investment through stable dividends distribution and capital
     appreciation………………




                                                  4
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FUNO´S IPO COMMITMENT

 1 Newly created Mexican trust, formed primarily to acquire, develop, own, and
     operate a broad range of income-producing real estate


 2
   Long-term investment through stable dividends distribution and capital
     appreciation ………………



 3
     Replicate the know-how and DNA of the successful experience of E-Group
     through a vertically integrated platform



                                                  5
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A SERIES OF EVENTS HAVE CREATED A VOLATILE BACKDROP

  Mexico’s presidential elections
   NAFTA re-negotiation between Mexico, U.S., and Canada

   Increase in Mexican interest rates

   FED interest rate hikes
   Cancellation of Mexico City’s new airport: NAIM
   Significant shift in FUNO’s shareholder base
                                                   6
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FOCUS ON RESULTS
                  FFO per CBFI Growth                                   Dividend per CBFI Growth
                  NOI per CBFI Growth                                   Accumulated inflation

                                                                                               15.2%

    YTD
   Growth
                                                                                               8.7%

                                                                                               5.0%
                                                                                               2.7%




            1 Jan 2018                  1Q'18                      2Q'18                    3Q'18

     FUNO has delivered improved outputs per CBFI despite persistent market volatility
                                                        7
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FUNO’S FOCUS




                        BY GONZALO ROBINA AND JORGE PIGEON


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UNDERSTANDING FUNO’S DNA
    Total Return Focus  Sustainable Shareholder Value Creation Over Time

        Dividend                        Capital Appreciation through Active Management
       Distributions                             of our Assets and Opportunities

      High Occupancy                     Acquisitions                      Tenant Growth
     Rent Collections                    Developments                      Asset Recycling
           =
                                         Re-Developments
       Dividends




                                                 9
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SOLID DIVIDEND DISTRIBUTIONS AND CAPITAL APPRECIATION
                                                                                                                          Quarterly Distribution per CBFI
     CAGR:
      8.5%                                                                                                                                                                                                                                                                                                              0.56
                                                                                                                                                                                                                                                                                                                                 $13.6 per
                                                                                                                                                                                                                                                                                                                                    CBFI
         0.31                                                                                                                                                                                                                                                                                                                    distributed
           2Q'11

                     3Q'11

                                4Q'11

                                            1Q'12

                                                        2Q'12

                                                                    3Q'12

                                                                                4Q'12

                                                                                           1Q'13

                                                                                                      2Q'13

                                                                                                                3Q'13

                                                                                                                          4Q'13

                                                                                                                                   1Q'14

                                                                                                                                            2Q'14

                                                                                                                                                    3Q'14

                                                                                                                                                            4Q'14

                                                                                                                                                                     1Q'15

                                                                                                                                                                              2Q'15

                                                                                                                                                                                        3Q'15

                                                                                                                                                                                                  4Q'15

                                                                                                                                                                                                             1Q'16

                                                                                                                                                                                                                        2Q'16

                                                                                                                                                                                                                                    3Q'16

                                                                                                                                                                                                                                                4Q'16

                                                                                                                                                                                                                                                            1Q'17

                                                                                                                                                                                                                                                                       2Q'17

                                                                                                                                                                                                                                                                                  3Q'17

                                                                                                                                                                                                                                                                                            4Q'17

                                                                                                                                                                                                                                                                                                      1Q'18

                                                                                                                                                                                                                                                                                                               2Q'18

                                                                                                                                                                                                                                                                                                                         3Q'18
                                                                                                                                                    NAV per CBFI
     CAGR:                                                                                                                                                                                                                                                                                                              38.1
     11.2%                                                                                                                                                                                                                                                                                                                        $20.9 per
                                                                                                                                                                                                                                                                                                                                 CBFI value
                                                                                                                                                                                                                                                                                                                                   created
              17.2
                   1Q'11

                             2Q'11

                                        3Q'11

                                                    4Q'11

                                                            1Q'12

                                                                        2Q'12

                                                                                   3Q'12

                                                                                              4Q'12

                                                                                                        1Q'13

                                                                                                                  2Q'13

                                                                                                                           3Q'13

                                                                                                                                    4Q'13

                                                                                                                                            1Q'14

                                                                                                                                                    2Q'14

                                                                                                                                                            3Q'14

                                                                                                                                                                    4Q'14

                                                                                                                                                                             1Q'15

                                                                                                                                                                                      2Q'15

                                                                                                                                                                                                3Q'15

                                                                                                                                                                                                          4Q'15

                                                                                                                                                                                                                     1Q'16

                                                                                                                                                                                                                                2Q'16

                                                                                                                                                                                                                                            3Q'16

                                                                                                                                                                                                                                                    4Q'16

                                                                                                                                                                                                                                                               1Q'17

                                                                                                                                                                                                                                                                          2Q'17

                                                                                                                                                                                                                                                                                    3Q'17

                                                                                                                                                                                                                                                                                              4Q'17

                                                                                                                                                                                                                                                                                                       1Q'18

                                                                                                                                                                                                                                                                                                                2Q'18

                                                                                                                                                                                                                                                                                                                         3Q'18
                                                                                FUNO has created value with a CAGR of 19.7%
                                                                                                                                                                                 10
((1) Figures in Ps.$ mm as of 3Q’18. *CAGR from 2Q’11 to 3Q’18
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GROWTH TO MEET TENANT’S NEEDS
              Since our inception, we’ve been growing alongside our tenants



       2011                     3Q’18                                 2011                         3Q’18




 # of States: 3            # of States: 22                    # of States: 4                   # of States: 20
 GLA: 21,849 m2            GLA: 900,641 m2                    GLA: 20,032 m2                   GLA: 134,858 m2
                    Δ 40.2x                                                           Δ 5.7x

                                                      11
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GROWTH TO MEET TENANT’S NEEDS




         2011                    3Q’18                                2011                      3Q’18




  # of States: 3             # of States: 23                  # of States: 1                # of States: 8
  GLA: 1,501m2               GLA: 125,825m2                   GLA: 24,031m2                 GLA: 118,722m2
                   Δ 82.8x                                                         Δ 4.0x

                                                      12
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ADDING VALUE THROUGH DEVELOPMENT
          Approx. 25.4% of our NOI is generated by properties that have been developed, re-
                                       developed or expanded
                    2018E                                        Pro‐Forma 2021                                    Pro‐Forma 2023
   Stabilized Portfolio                     + Current Development + Acq.                               +            Mitikah
      Ps.13.8 bn                                                 Ps.18.6 bn                                       Ps. 19.8 bn(2)
         12.3%                                                10.8%
                                                                                                                   10.6%
   4.6%                                              11.0%                                        9.7%

  8.5%
                                                    4.1%                                       9.8%
                           74.6%                                           66.5%                                              59.4%
                                                     7.5%
                                                                                                 3.7%
                                                                                                     6.7%

   Stabilized properties(1)                        Property growth/expansion                            Re-developed
   Developed                                       Under development                                    Mitikah (JV Helios)
                                                                      13
         (1) Contributed and acquired stabilized properties                   (2) FUNO’s share of Mitikah’s NOI
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PORTFOLIO UNDER DEVELOPMENT

   8 projects                643,761 m2                Ps. 1.8 bn                Ps. 7.0 bn            12%
                                                   expected additional                               expected
under development             final GLA                                       est. pending CapEx
                                                       revenues                                    yield-on-cost

                                              Mariano Escobedo
                    Render                                          Actual Photos




                                                             14
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MIDTOWN JALISCO
        Render                                                    Actual Photo




                                                15
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MIDTOWN JALISCO - OFFICES




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MIDTOWN JALISCO – ACTUAL OFFICE LOBBY




                                             17
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MIDTOWN JALISCO – WEWORK OFFICE




                                             18
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MIDTOWN JALISCO – RETAIL




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MIDTOWN JALISCO – HILTON HOTEL




                                             20
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MIDTOWN JALISCO – HILTON HOTEL




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MIDTOWN JALISCO – HILTON HOTEL




                                             22
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MIDTOWN JALISCO – HILTON HOTEL




                                             23
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MIDTOWN JALISCO – HILTON HOTEL




                                             24
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MIDTOWN JALISCO – HILTON HOTEL




                                             25
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MIDTOWN JALISCO




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MIDTOWN JALISCO




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LA ISLA CANCÚN 2




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LA ISLA CANCÚN 2

                                                                                    La Isla




                                                              connection

    La Isla 2




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TEPOZPARK / FRIMAX – FIRST PHASE OUT OF 350,000 SQM




                                             30
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ADDING VALUE TO OUR PROPERTIES: MERCADO GOURMET PARQUES POLANCO




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ADDING VALUE TO OUR PROPERTIES: MERCADO GOURMET PARQUES POLANCO

Redevelopment highlights:                                                                                YOC: 21%
  i. Investment: Ps. 32.8 mm                                                                            Stabilized IRR:
  ii. Growth in ABR from Ps. 2.1 mm to Ps. 10.8 mm                                                           31%




                             ABR (Ps. mm)                                            Average Rent per sqm. (Ps.) per
                                                                                              sqm. (Ps.)
   12.0                                     10.8(1)
   10.0                                                                  1,405                              1,247
                                                                         1,205
    8.0
                                                                         1,005
    6.0                                                                    805
    4.0                                                                    605
                       2.1                                                 405
    2.0                                                                                 175
                                                                           205
     ‐                                                                       5
                       Before                After                                      Before              After


                                                                   32
 (1) Once stabilized
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ADDING VALUE TO OUR PROPERTIES: PATIO VALLE DE CHALCO




                                               33
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ADDING VALUE TO OUR PROPERTIES: PATIO VALLE DE CHALCO

   Redevelopment highlights:
      i. Investment: Ps. 166.5 mm                                                                        YOC: 15%
                                                                                                         Stabilized
      ii. Growth in GLA from 40,685 to 54,045 m2
                                                                                                         IRR: 20%
      iii. Growth ABR in Ps. 25 mm




                       ABR (Ps. mm)                                                      GLA (sqm)
              90,000
                                           91.6(1)                  55,000                           54,045
              80,000
              70,000
              60,000                                                50,000
              50,000
              40,000                                                45,000
              30,000   66.6                                                         40,685
              20,000
                                                                    40,000
                       Before                After
                                                                                    Before           After
                                                               34
(1) Once stabilized
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ASSET RECYCLING: UAG




                                            35
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ASSET RECYCLING: REFORMA 155




                                            36
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ASSET RECYCLING: APODACA




                                            37
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SALES PRICE VS NAV – CAPTURING VALUE CREATION (SHORT TERM)

  Land Plot in Celaya (from Kansas Portfolio)                 Location, Location, Location!
  UAG Property (Retail Operating Property)

  Reforma 155 (Office Operating Property)

  Land Plot in Monterrey (from California Portfolio)


      Total Sales:
      Sale Price: Ps. 1,451.2 mm
      Book Value: Ps. 1,058 mm
                                                  Due to its location and conservative property
        Price vs NAV: 1.32x                       valuations FUNO is able to sell non-core
                                                  assets around 32% above Book Value.
                                                          38
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CREATING VALUE THROUGHOUT BUYBACK

  • FUNO sold assets @ 1.32x NAV
  • NAV = Ps. $38.1

             Columna1           Sold Assets              Buyback           Accretion
        Price per CBFI                $50.3                 $27.6              $22.7
        CBFIs (#)                                        42,194,229
        Value Creation      (Ps. mm)                                          $957.8



  • FUNO has created value for Ps. 957.8 million through our Buyback Program
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NEW STRATEGIC ALLIANCES – SIZE DOES MATTER




        Placement of 75 new modules                             +320 ATMs available


        Installation over the next 4 months                     In 25 cities of 18 states


        Minimal use of our GLA                                  Annual service to +400 million people


                   ANNUAL ADDITIONAL FFO Ps. $65 MILLION

                              FUNO’s capital investment = zero

                                                   40
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NEW STRATEGIC ALLIANCES




       Currently 50,000 sqm                                        Opening of more than 50 stores


       100,000 m2 will be occupied by 2021                         Over 20,000 sqm


       Co-working spaces currently account for
        288,000 sqm in Mexico
                                                                    180 branches by 2019




                                                  41
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NEW STRATEGIC ALLIANCES




     4 new stores                                                    3,400 sqm in prime locations


     Exclusive product offering                                      Unique culinary experience at FUNO sites


     Innovation in FUNO´s mall locations                             Ambitious expansion plan




                                                      42
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MITIKAH PROJECT – TODAY

                                                         Retail                          Office      Residential   Total

   GLA / estimated GSA
                    (m2)
                                                       115,710                          247,876         667        446,654

   Estimated NOI
                 (Ps$mn)
                                                           662                            1,123         n.a.        1,785

   Estimated Residencial
   Revenue                                                 n.a.                               n.a.      5,597       5,597
                  (Ps$mn)


   Average Price of rent / m2
                   (Ps$)
                                                           574                                455         -           -

   Estimated sale price / m2
                   (Ps$)
                                                              -                                -       70,000         -


       Pre-lease/ Units sold                             67%(1)                           57%(2)        74%

                                                                                         43
     (1) Retail includes Mitikah Phase I. (2) Office includes Mitikah Phase I + Centro Bancomer.
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MITIKAH FEE STRUCTURE – “FEE” INCOME FOR FUNO

         Type of Fee                                                 Fee Structure



   • Fund management Fee                      1.25% committed capital or Ps. 6,000 mm
                                              for 10 years

   • Asset Development Fee                    3% of total development cost

   • Promote                                  20% of return in excess of 10% (Preferred
                                              return)



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ABILITY TO CREATE VALUE – MITIKAH INVESTMENT COST
                                                                                  Figures in Ps. mm

          FUNO’s Investment                                                                Cost

    Land Acquisition Price                                                                 4,400
    Rents Collected (Colorado Portfolio)                                                   -600
    Total Cost                                                                             3,800


          Helios Fee Structure                                                             Cost

    Fund Management Fee                        1.25% on Ps. 6,000 mm                       750
    Development Fee                             3% on Ps. 21,000 mm                        630
    Total Fee Income                                                                       1,380
    Total Asset Cost (Net of Fees)                                                         2,420


                                                      45
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ANALYZING ABILITY TO CREATE VALUE – MITIKAH YIELD ON COST
                                                              (Figures in Ps. Mm)

                                                                            MITIKAH’s
                                                          COST                            YOC
                                                                               NOI


  FUNO’s 62% ownership                                    2,420             1,148(1)     47.4%


                                                                         FUNO’s Stake     Value
                                                          COST
                                                                         @ 7% CapRate    Creation


  FUNO’s Net Capital Investment                           1,289            20,948(1)     16.3 x
  (including Promote)



  (1) FUNO’s share                                  46
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MITIKAH PROJECT




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COUNTER-CYCLICAL BUSINESS MODEL




                                                  BY FERNANDO ÁLVAREZ


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FUNO´S VALUE CREATION PILLARS

                               “Location, location, location”
                                 Always the best locations

                                               1


                                     FUNO’s
                                    sustainable
                                     business
                                      model
        Prudent Leverage
                             3                                   2     Competitive rent levels + long
             Policy                                                     term leases, conditions and
                                                                                 expiration


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FUNO´S DELIVERY ON CAPITAL APPRECIATION
       Our portfolio is focused in the largest and most dynamic states of Mexico

                                         Our top 5 states generate 81% of our ABR
                       36%
                               22%
                                          9%        7%          7%                                                                          10%
                                                                       2%                 2%             2%             2%          2%
                       CDMX




                                                      QR




                                                                        Tamps
                                                                NL




                                                                                          Quer




                                                                                                                        Coah



                                                                                                                                    Chiap



                                                                                                                                            Other
                                          Jal
                                EdoMex




                                                                                                         Chih
                              Our top 5 states generate 42% of Mexico’s GDP share(1)
                                          17%
                                                  9% 7% 7%
                                                                       3% 3% 3% 2% 2% 2%
                                           CDMX




                                                                                                 Tamps
                                                           NL




                                                                                                                               QR
                                                                       Coah




                                                                                                         Quer


                                                                                                                Chiap
                                                                 Jal
                                                  EdoMex




                                                                                   Chih




                                                                              50
   (1) Source: INEGI
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FUNO VS THE MARKET:
                                 Competitive Rent Drives Occupancy & Rent Growth
                           USD/m2                               Ps./m2                                   USD/m2

                                                                  800                                       5.1
                            29
      FUNO: 24                                                                         FUNO: 4.3
                                                                                                           3.5
                            19
                                               FUNO: 253
                                                                  153

                           Office                               Retail                                  Industrial
                                                            Market Price Range


                   Office Occupancy:                      Retail Occupancy:                      Industrial Occupancy:

                   FUNO 89.1%                             FUNO 94.8%                             FUNO 97.4%
                   Market 84.6%                           Market 90.0%                           Market 97.6%
                                                                   51
Source: FUNO’s estimates
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OUR STRATEGY HAS IMPROVED OUR DEBT CONDITIONS
          3Q’13 Debt Profile                                      3Q’18 Debt Profile
    USD
    46%                                   11% in MXP           USD
                                                               35%                             Natural hedge to
                                                                                               USD fluctuations
                               MXP
                                                                                      MXP
                               54%
                                                                                      65%
   Variable
    Rate                                8% in Fixed Rate      Variable
    38%                                                        Rate
                                                               30%                              Less exposure to
                                                                                               volatility in interest
                               Fixed                                                                    rates
                               Rate                                                    Fixed
                               62%                                                     Rate
                                                                                       70%
                                                             Secured
   Secured                              90% in Unsecured      10%
    100%                                                                                           9 out of 10
                                                                                                 properties are
                                                                                                 unencumbered

                                                                                  Unsecured
                                                                                    90%
                                                        52
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OUR DEBT STRATEGY IS LONG TERM BASED
    3Q’13 Debt Maturity                    52.5%                               3Q’18 Debt Maturity
                                                                                                                 99.6%


                                 20.1%
 16.2%
           7.2%       4.1%
                                                                     0.2%       0.0%       0.2%         0.0%
 Short    13-24       25-36      37-48 49+ mths
 Term     mths        mths       mths                                  Short     13 - 24      25 - 36    37 - 48 49+ mths
                                                                       Term       mths         mths       mths

   Average Cost of                             TIIE 28                                                              TIIE 28
                              5.43%                                         Average Cost of
        Debt                                    4.0%                                                 7.84%           8.1%
                                                                                 Debt

    Average Life of                                                         Average Life of
                             3.1 years                                                             9.9 years
        Debt                                                                    Debt

  Foreign Exchange                                                        Foreign Exchange
                        12.2 Ps./USD                                                              18.7 Ps./USD
        Rate                                                                    Rate


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PRUDENT FINANCIAL MANAGEMENT = SUSTAINABILITY
                                                                        Syndicate Loan Immediate Resources
                                                                                (Figures in Ps. mm)
                                                                                                                 (1)
                                                                                                         7,713                  14,713
            Loan characteristics:
               i. Cash ready and
                    available in 3 days                                      7,000
               ii. Valid for 5 years
                    (until June 2020)
               iii. Commitment Fee:
                    30 bps                                                Ps. 7,000 mm               Usd. 410 mm                 Total



            Additionally, FUNO has bilateral lines of credit with 4 financial institutions for more than Ps. 6 bn



                                                             FUNO’s has more than Ps. 20 bn of available cash


                                                                                           54
(1) Ps. 7,000 mm in Usd. mm with an exchange rate of 18.8120 Ps./Usd.
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IMPACT OF INTEREST EXPENSE IN FFO GENERATION

                                                                                       Growth %    CAGR
    Ps. per CBFI                          4Q13                        3Q18
         NOI per CBFI                      0.54                        0.87                 Δ63%   11%


         FFO per CBFI                      0.41                        0.56                 Δ35%    7%


    Interest Expense per CBFI              0.18                        0.30                 Δ68%   12%


              LTV                         34.3%                       32.6%             Δ(5%)      (1%)




                                                       55
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MEXICO IN THE GLOBAL ARENA




                                                 BY ALEJANDRO WERNER


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FUNO CARES




                                                             BY SOFIA PEÑA


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FUNO´S CORE DNA




                      Environmental                 Social




                                     Governance




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ESG ACHIEVEMENTS
           UN GLOBAL COMPACT & GRI
            FUNO joined the United Nations’ Global Compact
   2016
            FUNO reports under the Global Reporting Initiative

            Focus on:
              • Reduce our overall building energy intensity
              • Efficient water consumption
              • Monitoring waste and emissions




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ESG ACHIEVEMENTS
           MEMBER OF DJSI
            Fundación FUNO started operations
   2017
            FUNO became member of the Dow Jones Sustainability MILA Index

            Implement of an external and independent whistleblowing mechanism
             open to all employees and suppliers




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ESG ACHIEVEMENTS
           Member of FTSE4Good

   2018
            FUNO´s inclusion to the FTSE4Good Index Series.


            Disclosure of our carbon footprint to the Carbon Disclosure Project




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KEY HIGHLIGHTS
 FUNO achievements:

  Top 5 LATAM ranking in overall ESG

  Top 10 world ranking in:
    • Code of ethics
    • Political influencer in the industry
    • Integration and social regeneration actions (social inclusion in our properties)

  26% of our total office operating GLA LEED certified

  54% of our office development GLA LEED certified



               The core of FUNO´s DNA is the company´s sustainability


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“To prosper over time, every company must not only deliver financial
performance, but also show how it makes a positive contribution to society”.

                                                                     Larry Fink, Blackrock´s CEO




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FUNO’S FUTURE




                                                         BY JORGE PIGEON


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FUNO IN THE FUTURE

  Increase independent presence in the Board

  Generate more confidence through stronger corporate governance

 Cancellation of all re-purchased CBFIs up to date

  Continuous effort to reduce the gap in the NAV/CBFI value

  Continue to enhance and improve disclosures

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FUNO´S INDEPENDENT BOARD MEMBERS


Herminio Blanco Ph. D.
   • President of IQOM Inteligencia Comercial.
   • Former Secretary of Trade and Industry in México.
   • Ph.D. in Economics from University of Chicago.


Antonio Franck
    • Partner in Jones Day.
    • Participated in the inception of Banco Azteca, Banco Multiva, and Bancoppel, among other
        credit institutions and sofoles.
    •   Harvard University; Universidad Iberoamericana; University of Houston.



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FUNO´S INDEPENDENT BOARD MEMBERS

Rubén Goldberg

    • Founding partner of Goldberg Alerhand y Asociados, S.C.
    • Member of Boards of Private Sector, Financial Institutions, and non-profit Associations.
    • MBA from Wharton School, University of Pennsylvania.

Alberto Mulás A.

    • Independent Director in the boards of several leading corporations.
    • Head of Banco Itau BBA’s brokerage. Donaldson, Lufkin & Jenrette Securities Corp. and
        Lehman Brothers Inc.
    •   MBA from Wharton School, University of Pennsylvania



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KEY ASSUMPTIONS
 1. General :
     Rents adjusted with inflation annually
     Average leasing spreads over inflation: Industrial 415 bps - Retail 192 bps - Office 46 bps
     Occupation stabilizes at a range of 90-95% (depending on the property/portfolio)
     Stable NOI margin at ~80%
     Stable interest rates

 2. Acquisitions :
     Assumes the closing of pending acquisitions

 3. Developments :
     Assumes delivery dates as stated on the 3Q’18 Quarterly Report

 4. Mitikah :
     Assumes FUNO receives it’s 62% share of Mitikah’s revenues and debt
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POTENTIAL GLA BUILD UP

                                                                (Figures in '000 sqm)


                                                                                                                              9,532
                                                                                          163                    9,304
                                                                 118
                                        591

              8,432




                                                                                                        (2)                           (3)
      Current Portfolio Development                        Acquisitions            Mitikah Phase I              2021E         2023E
          2018E           Portfolio (1)


      (1) Includes the GLA of the Development Portfolio as of 3Q18 (excludes Tepozpark (Frimax) last phase
      (2) Considers Mitikah’s Phase I finished buildings 2021 GLA (excludes Torre Coyoacan which will be delivered by 2022)
      (3) Includes Mitikah’s Total GLA and Tepozpark (Frimax) last phase
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POTENTIAL NOI BUILD UP

                                                                   (Figures in Ps. mm)

                                                                                                                                          21,499

                                                                                                                 19,089

                                                                                           524
                                        1,454                     551
              13,782




       Current Portfolio Development                        Acquisitions          Mitikah Phase I (1)            2021E                    2023E (2)
           2018E           Portfolio



      (1) Represents FUNO’s share of Mitikah’s Phase I finished buildings estimated 2021 NOI (excludes Torre Coyoacan which will be delivered by 2022)
      (2) Includes FUNO’s share of Mitikah’s estimated 2023 NOI
                                                                                70
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FULL POTENTIAL 2021 OUTLOOK
                                         Concepts                    2018E                 2021E
                                           NOI (Ps. mm)               13,782                19,089
                                        GLA ('000 sqm)                    8,432               9,304
                                          Debt (Ps. mm)(1)            78,699                83,951
                                                       LTV                32.0%               29.3%
                                          FFO (Ps. mm)                    8,516             12,141
                                     No. CBFIs (mm)                       3,900               4,023

                                          FFO / Share
                                               High End                    2.17                3.15
                                               Low End                     2.15                2.96

 (1) Includes FUNO’s share of Mitikah’s Phase I debt
                                                                     71
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CLOSING REMARKS




                                                        BY ANDRÉ ELMANN


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SAY DO INDEX

         Solid Dividend Distributions
         Growth to meet of tenant needs
                  Organic growth - Development, Re-development, and Expansion

                  Growth through Acquisitions

         Multiple sources of funding
         Counter-cyclical business model
         Prudent financial leverage
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CLOSING REMARKS

                                                   (Figures in Ps. mm)


                                                                                35,428
                                                                         (1)
                                           (1)




                         FUNO has generated Ps. 74 billion in value since IPO

                                                               74
     (1) FUNO has had a net FX effect of Ps. 6,250 mm
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CLOSING REMARKS
                                                    (Figures in Ps. mm)


                                                        35,428
                                  (1)




                         FUNO has generated Ps. 74 billion in value since IPO

                                                               75
     (1) FUNO has had a net FX effect of Ps. 6,250 mm
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                    Q&A
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THANK YOU!!
